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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 TONY JONES                                       §
                                                  §
      Plaintiff,                                  §
                                                  §
 v.                                               §   Civil Action No. 4:22-cv-00359-O
                                                  §
 CITY OF FORT WORTH, et al.,                      §
                                                  §
      Defendants.                                 §

                                              ORDER

         Before the Court is Plaintiff’s Motion for Default Judgment (ECF No. 33), filed January

12, 2023. The Court hereby REFERS the Motion and all related responses, replies, briefs in

support, and appendices, etc., to United States Magistrate Judge Ray for hearing, if necessary, and

determination or recommendation to this Court. See 28 U.S.C. § 636(b)(1).

         Further pleadings concerning this motion shall be filed with a transmittal letter addressed

to Magistrate Judge Ray so copies may be sent directly to him without delay.

         SO ORDERED on this 13th day of January, 2023.


                                                      _____________________________________
                                                      Reed O’Connor
                                                      UNITED STATES DISTRICT JUDGE




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